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               Group Exhibit B
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           Last:$399.14720    High:$447.87999    Low:$310.00000    Vol:49070  BTC    W.Avg:$360.02231

                               https://www.mtgox.com/terms_of_service                                   Go                DEC    FEB    MAR
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                     18 captures                                                                        Username                   Password                      Login
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        HOME                  TRADE        MERCHANT  TOOLS              SECURITY  CENTER            SETTINGS           FAQ       NEWS            ç      Ċ        
                                                                                                                                                 CHAT  MOBILE
Terms  of  Use
Last  updated  on  January  20,  2012

These  Terms  and  Conditions  (the  “Terms”)  set  out  the  conditions  under  which  K.K.  MtGox,  a  company  incorporated  under  the  laws  of  Japan
with  a  registered  address  at  Sarugaokacho  26-­1,  Shibuya-­ku,  Tokyo,  Japan  and  its  affiliates  (hereinafter,  “MtGox”)  offer  you  use  of  the  MtGox
website  at  https://mtgox.com/  (the  "Site")  and  access  to  the  Mt.  Gox  Platform  (the  “Platform”).  Please  read  these  Terms  carefully  and  do  not
use  the  Site  or  the  Platform  unless  you  accept  them.

The  Platform,  managed  by  MtGox,  allows  buyers  (“Buyers”)  and  sellers  (“Sellers”),  to  buy  and  sell  the  internet  commodity  known  as
“Bitcoin(s)”.  It  also  allows  all  registered  users  of  the  Platform  (“Members”)  to  transfer  funds  and  Bitcoins  to  other  Members  and  to  use
Bitcoins  for  purchasing  specific  items.

Depending  on  their  country  of  residence,  Members  may  not  access  all  the  functions  of  the  Site.


By  opening  an  account  to  use  the  Platform  ("Account")  Members  represent  and  warrant:
  1.   they  have  accepted  these  Terms;;  and
  2.   they  are  at  least  18  years  of  age  and  have  the  full  capacity  to  accept  these  Terms  and  enter  into  a  transaction  resulting  on  the  Platform




MtGox  reserves  the  right,  at  its  sole  discretion,  to  change,  add  or  remove  portions  of  these  Terms,  at  any  time.  You  will  be  notified  of  such
changes  a  month  in  advance  through  your  Account  and  upon  such  notification  it  is  your  responsibility  to  review  the  amended  Terms.  Your
continued  use  of  the  Site  following  the  posting  of  changes  will  mean  that  you  accept  and  agree  to  the  changes.  You  agree  that  all  subsequent
transactions  by  you  will  be  subject  to  these  Terms.  As  long  as  you  comply  with  these  Terms  and  any  such  modifications,  MtGox  grants  you  a
personal,  non-­exclusive,  non-­transferable,  non-­sublicensable,  limited  right  to  enter  and  use  the  Site  and  the  Platform.

Your  acceptance  of  these  Terms,  as  amended  from  time  to  time,  gives  MtGox  a  mandate  to  bring  together  Sellers  and  Buyers  to  trade  on  the
Platform  according  to  the  following  clauses  as  well  as  perform  the  functions  described  hereinbelow.

DEFINITIONS

Platform:  means  the  technical,  functional  and  organisational  structure  managed  by  MtGox  to  allow  Sellers  and  Buyers  to  conclude  a  complete
purchase  and  sale  transaction  of  Bitcoins.

Bitcoins:  means  the  Peer-­to-­Peer  internet  commodity  further  described  at  http://bitcoin.org.

Seller(s):  means  Member(s)  that  are  submitting  an  offer  to  sell  Bitcoins  on  the  Platform.

Buyer(s):  means  Member(s)  that  are  submitting  an  offer  to  buy  Bitcoins  on  the  Platform.

Member(s):  means  Buyers  and  Sellers  as  well  as  any  holder  of  an  Account.

Transaction:  means  (i)  the  agreement  between  the  Buyer  and  the  Seller  to  exchange  Bitcoins  on  the  Platform  for  currencies  at  a  commonly
agreed  rate  (“Bitcoin  Purchase  Transaction”),  (ii)  the  conversion  of  currencies  deposited  by  Members  on  their  account  (“Conversion
Transaction”),  (iii)  the  transfer  of  Bitcoins  among  Members  (“Bitcoin  Transfer  Transaction”),  (iv)  the  transfer  of  currencies  among  Members
(“Currency  Transfer  Transaction”)  and  (v)  the  purchase  of  products  such  as  USB  secure  keys  (“Purchase  Transactions”).

Price:  means  “price  per  coin”  for  which  Members  are  willing  to  purchase  or  sell  Bitcoins,  using  the  Platform  in  a  Bitcoin  Purchase  Transaction.
The  Price  may  be  expressed  in  any  of  the  currencies  deposited  by  Members  in  their  account  and  supported  by  the  Platform.  Members  may
deposit  different  currencies  in  their  account.  Currencies  currently  available  are  US  dollars,  Euros,  Japanese  yen,  Canadian  dollars,  British
pounds,  Swiss  francs,  Russian  rouble,  Australian  dollar,  Swedish  krona,  Danish  krones,  Norwegian  krones,  Hong-­Kong  dollars,  Polish  zlotys,
Chinese  yuan  renminbis,  Singapore  dollars,  Thai  bahts  and  New  Zealand  dollars.

Transaction  Price:  means  the  total  price  paid  by  the  Buyer  in  respect  of  each  Transaction  performed  on  the  Platform.

Commission:  refers  to  the  fee  which  is  payable  to  MtGox  on  each  Transaction.  For  Bitcoin  Purchase  Transactions,  the  applicable  commission
will  vary  according  to  the  amount  and  type  of  the  Transaction  as  well  as  the  Member’s  last  30-­day  trading  volume.  The  list  of  applicable
Commissions  for  Bitcoin  Purchase  Transaction  is  available  here:  https://mtgox.com/fee-­schedule.  For  Conversion  Transactions,  MtGox  will
charge  a  fixed  commission  of  2.5%  calculated  and  applied  on  the  amount  of  currencies  being  converted.  No  Commissions  will  be  charged  on
Bitcoin  Transfer  Transactions  and  Currency  Transfer  Transactions.  For  Purchase  Transactions,  the  price  payable  by  Members  will  be  the  price
of  the  goods  offered  for  sale  by  MtGox  at  the  price  advertised  on  the  Platform.
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YOUR  ACCOUNT

Members  are  responsible  for  maintaining  the  confidentiality  of  their  Account  information,  including  their  password,  and  for  all  activity
including  Transactions  that  occur  under  their  Account.  Members  agree  to  notify  MtGox  immediately  of  any  unauthorized  use  of  their  Account
or  password,  or  any  other  breach  of  security  by  email  addressed  to  security@mtgox.com.  Members  will  be  held  liable  for  losses  incurred  by
MtGox  or  any  other  user  of  the  Site  due  to  someone  else  using  their  password  or  user  account.  Members  shall  not  use  any  Account  other  than
their  own  or  access  the  Account  of  another  Member  at  any  time.  Members  may  not  attempt  to  gain  unauthorized  access  to  the  Site,  and  any
attempt  to  do  so  or  to  assist  others  (Members  or  otherwise)  to  do  so,  or  distribution  of  instructions,  software  or  tools  for  that  purpose,  will
result  in  the  Accounts  of  such  Members  being  terminated,  and  this  does  not  limit  the  right  of  MtGox  to  take  any  other  action  against  you.

Members  agree  to  provide  MtGox  with  accurate,  current  and  complete  information  about  themselves  as  prompted  by  the  registration  process,
and  keep  such  information  updated.  In  addition,  Members  may  update  any  of  their  Account  information,  or  designate  a  different  payment
option  to  be  debited,  by  clicking  on  the  account  button  and  selecting  the  appropriate  link.

Members  may  only  have  one  Account  at  any  one  time  and  may  not  create  or  use  any  Account  other  than  their  own.  For  a  Member  to  be
exempt  from  any  of  these  rules,  he/she  must  request  express  and  prior  permission  from  the  Platform.  The  creation  or  use  of  Accounts
without  obtaining  such  prior  express  permission  from  the  Platform  will  lead  to  the  immediate  suspension  of  all  said  Accounts,  as  well  as  all
pending  purchase/sale  offers.

MtGox  will  request  identification  information  (such  as  an  identity  card,  invoices,  Government  issued  photographic  identification,  utility  bill,
residential  certificate,  signed  certification  of  cohabitation,  or  similar,  banking  information)  depending  on  the  amounts  deposited  on  the
Accounts  or  the  presence  of  suspicious  activity  which  may  indicate  money-­laundering  or  other  illegal  activity.  Identification  of  the  bank
account  from  which  funds  are  transferred  to  the  Account  may  also  be  requested.  In  certain  cases  notarization  of  certain  documents  (including
apostille)  may  be  requested.  Transactions  may  be  frozen  until  the  identity  check  has  been  considered  satisfactory  by  MtGox  as  required  by
applicable  money  laundering  laws.  MtGox  may  request  additional  identification  information  at  any  time  at  the  request  of  any  competent
authority  or  by  application  of  any  applicable  law  or  regulation.

Accounts  may  be  used  strictly  for  the  purposes  defined  in  these  Terms.

PLATFORM  TRANSACTION  PROCESS  FOR  BITCOIN  PURCHASE  TRANSACTIONS

The  Platform  allows  Buyers  to  submit  offers  to  purchase  Bitcoins  and  Sellers  to  submit  offers  to  sell  Bitcoins.  The  Price  for  which  Members
offer  to  purchase  or  sell  Bitcoins  is  at  their  discretion.

Members  recognise  that  their  offers  should  only  be  submitted  after  careful  consideration  and  once  submitted  Members  are  prepared  to  enter
into  a  Bitcoin  Purchase  Transaction  with  another  Member.  Therefore,  offers  made  by  Sellers  and  Buyers  on  the  Platform  represent  their
unconditional  acceptance  to  be  bound  by  an  agreement  as  soon  as  the  Price  set  in  their  offer  matches  with  the  Price  set  in  an  offer  submitted
by  a  Buyer  or  Seller,  respectively.  Sellers  and  Buyers  agree  that  as  soon  as  their  respective  offers  are  matched,  such  offers  are  binding  and
may  not  be  withdrawn.  The  Bitcoin  Purchase  Transactions  will  be  completed  instantaneously  upon  the  matching  of  the  Buyer's  and  Seller's
offers,  without  prior  notice  to  the  Seller  and  Buyer,  and  will  be  considered  to  have  taken  place  at  that  date  and  time.

Whether  acting  as  Buyer  or  Seller  in  a  Bitcoin  Purchase  Transaction,  Members  recognise  that  the  matching  of  their  offers  for  the  sale  and
purchase  of  Bitcoins  is  a  service  provided  by  MtGox  via  the  Platform  and  as  such  once  Buyers'  and  Sellers'  offers  have  been  matched  any
right  they  may  have  to  cancel  any  Bitcoin  Purchase  Transaction  under  the  Distance  Selling  Directive  97/7/EC  will  be  lost  once  this  service  has
been  performed.

Sellers  acknowledge  and  agree  that  the  payment  of  the  Price  in  relation  to  the  Bitcoin  Purchase  Transaction  in  the  name  and  on  behalf  of  the
Buyer,  may  be  delayed  due  to  bank  verifications,  for  a  period  of  up  to  1  month.  Similarly  and  due  to  the  inherent  nature  of  the  Bitcoin
network,  Buyers  acknowledge  and  agree  that  withdrawing,  depositing  or  otherwise  receiving  Bitcoins  into  their  account  may  take  between  one
(1)  hour  and  twenty-­four  (24)  hours,  barring  unforeseen  or  unavoidable  network  issues.

Upon  matching  of  the  offers  of  Buyer  and  Seller,  MtGox  has  the  sole  authority  to  permit  the  transfer  of  the  amount  corresponding  to  the
Transaction  Price  minus  the  Commission  from  the  Buyer’s  Account  to  the  Seller.

PLATFORM  TRANSACTION  PROCESS  FOR  CONVERSION  TRANSACTIONS

The  Platform  allows  Members  to  convert  the  currencies  deposited  into  their  account  into  any  other  currency.  This  will  be  performed  either  by
the  Platform,  or  by  the  transferring  bank.

The  conversion  rate  applicable  to  the  Conversion  Transaction  shall  be  in  general  the  conversion  rate  published  on  the  website  of  the  European
Central  Bank  on  the  date  where  the  Conversion  Transaction  shall  be  initiated  by  the  Member.

Members  recognize  that  although  their  account  shall  be  immediately  and  automatically  updated  to  reflect  the  Conversion  Transaction,  the
actual  conversion  may  take  time  depending  on  the  availability  of  banking  services  and  bank  verifications.  Accordingly,  withdrawal  of
currencies  from  a  Member’s  account  may  not  be  possible  until  the  Conversion  Transaction  has  actually  been  completed.

A  fixed  Commission  of  2.5%  shall  apply  to  all  Conversion  Transactions  which  are  performed  by  the  Platform,  and  shall  be  deducted  directly
from  the  amount  converted.  The  Commission  shall  be  calculated  on  the  amount  of  currency  converted.

In  cases  where  Conversion  Transactions  are  performed  by  a  bank  as  part  of  a  deposit,  a  variable  Commission  of  up  to  2.5%  shall  apply.  This
rate  is  specific  to  the  bank  performing  the  transaction.

PLATFORM  TRANSACTION  PROCESS  FOR  BITCOIN  TRANSFER  TRANSACTIONS

Members  may  at  any  time  transfer  any  amount  of  Bitcoins  to  any  other  Members  as  well  as  any  other  Bitcoin  users  even  if  they  are  not
Members  (the  “Transferee”).

Bitcoin  Transfer  Transactions  may  be  initiated  at  any  time  from  the  following  page:  https://mtgox.com/index.html.  Transferees  shall  be
identified  by  their  bitcoin  address.

Members  shall  be  solely  responsible  for  ensuring  that  any  transfer  of  Bitcoins  to  a  Transferee  shall  be  a  valid  and  legal  transaction  not
infringing  any  laws  including  money-­laundering  laws  and  regulations.

MtGox’s  responsibility  shall  be  limited  to  using  reasonable  technical  efforts  to  ensure  the  receipt  of  the  Bitcoins  transferred.  When  conducting
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Bitcoin  Transfer  Transactions  with  a  Bitcoin  user  who  is  not  a  Member,  MtGox’s  responsibility  shall  be  further  limited  to  ensuring  the  transfer
of  the  necessary  technical  data  to  the  Bitcoin  peer-­to-­peer  network.

No  Commission  of  any  kind  will  be  charged  by  MtGox  for  Bitcoin  Transfer  Transactions.

PLATFORM  TRANSACTION  PROCESS  FOR  PURCHASE  TRANSACTIONS

Members  may  purchase  a  USB  secure  key  “YubiKey”  at  the  conditions  and  price  set  forth  at  https://yubikey.mtgox.com/.  The  USB  secure  key
allows  a  Member  to  manage  his/her  MtGox  account  more  securely.  A  manufacturer’s  warranty  is  provided  with  the  USB  secure  key.  Please
refer  to  the  details  of  the  manufacturer's  warranty  at  http://www.yubico.com/yubikey.  MtGox  shall  not  replace  any  key  lost  by  a  Member.

Members  may  also  purchase  Bitcoin  gift  codes  at  the  conditions  and  price  set  forth  at  https://mtgox.com/trade/funding-­options.  Gift  codes  are
redeemable  by  any  Member  and  may  be  delivered  by  emailing  the  gift  code  to  the  receiving  Member.  MtGox  shall  not  be  responsible  should
the  gift  codes  not  be  redeemed.  Gift  codes  are  valid  until  redeemed.  Gift  codes  are  refundable  at  any  time.

MT.  GOX'S  OBLIGATIONS

Except  in  the  case  of  Purchase  Transactions,  Members  acknowledge  and  agree  that,  when  completing  Transactions,  they  are  trading  with
other  Members,  and  Members  accept  that  MtGox  acts  only  as  an  intermediary  in  such  Transactions  and  not  as  a  counterparty  to  any  trade.  It
is  thus  the  Members’  and  should  the  case  arise,  the  Sellers’  and  the  Buyers’  responsibility  to  comply  with  any  and  all  laws  and  regulations
relating  to  the  Transactions.

MtGox  represents  and  warrants  that:
 1.   it  will  use  all  reasonable  care  and  skill  in  facilitating  the  matching  of  offers  of  the  Members  on  the  Site  via  the  Platform  to  conclude
      Transactions.
  2.   all  purchase  and  sale  offers,  as  well  as  Bitcoin  Purchase  Transactions,  made  on  the  Platform,  will  be  managed  in  an  anonymous  manner
       so  that  Buyers  and  Sellers  will  not  know  each  other.
  3.   the  Transaction  Price  is  calculated  on  the  basis  of  actual  matched  offers  made  by  Buyers  and  Sellers  participating  in  the  bidding  process
       on  the  Platform  combined  with  the  applicable  Commission.
  4.   once  offers  to  buy  or  sell  Bitcoins  are  matched,  such  offers  may  not  be  withdrawn.
  5.   Transfer  of  Bitcoins  in  a  Transfer  Transaction  may  not  be  withdrawn.
  6.   it  will  hold  all  monetary  sums  and  all  Bitcoins  deposited  by  each  Member  in  its  Account,  in  that  Member's  name  as  registered  in  their
       Account  details,  and  on  such  Member's  behalf.
  7.   it  shall  comply  with  any  and  all  laws  and  regulations  relating  to  offering  the  Platform.



If  a  Member  contravenes  these  Terms,  MtGox  reserves  the  right  to  suspend  his/her  Account  and  block  all  monetary  sums  or  Bitcoins
contained  therein.

The  Platform  is  not  intended  to  provide  any  legal,  tax,  insurance  or  investment  advice.  Tools  available  on  the  Site  such  as  the  “Trade  Data”
webpage  accessible  at  https://mtgox.com/trade/history  only  provide  Members  with  general  information  related  to  Transactions  formerly
performed  on  the  Platform  and  should  not  be  construed  as  investment  education  or  advice  provided  by  MtGox.  Members  are  solely
responsible  for  determining  whether  any  contemplated  Transaction  is  appropriate  for  them  based  on  their  personal  goals,  financial  status  and
risk  willingness.

MEMBERS’  OBLIGATIONS

Members  represent  and  warrant  that  they  will  only  use  the  Platform  to  perform  Transactions  in  accordance  with  the  conditions  set  forth  in
these  Terms  and  that  they  are  duly  authorized  and  have  the  capacity  to  enter  into  the  Transactions  on  the  Platform.

Seller  warrants  that  the  Bitcoins  offered  to  sell  or  to  transfer  correspond  to  actual  Bitcoins.

Buyer  warrants  that  the  currencies  deposited  to  buy  the  Bitcoins  are  actual  currencies  corresponding  to  actual  assets  in  its  bank  account  and
coming  from  legal  sources.

Members  agree  that  they  will  not  use  the  Platform  to  perform  any  type  of  illegal  activity  of  any  sort,  including,  but  not  limited  to,  money
laundering,  terrorism  financing,  or  negatively  affect  the  performances  of  the  Platform.

Members  agree  that,  whenever  a  Transaction  is  made,  the  Platform  sends  and  receives  the  monetary  sums  and/or  Bitcoins  from  the  Buyer
and  the  Seller’s  Accounts  in  their  name  and  on  their  behalf,  through  the  IT  system  in  place  on  the  Platform  at  the  time  of  the  Transaction.

INTELLECTUAL  PROPERTY  AND  LINKING

All  intellectual  property  rights  vested  in  texts,  images,  or  any  other  content  found  on  or  related  to  the  Platform  are  owned  by  MtGox.
Accordingly,  Members  may  not  copy,  distribute,  reproduce,  republish,  upload,  transmit,  modify,  post,  frame-­in  or  otherwise  use  in  any  way
any  such  content  without  the  prior  express  authorization  of  MtGox.

MtGox  property  or  that  of  our  suppliers  or  licensors  and  is  protected  by  patent,  trademark  and/or  copyright  under  Japanese,  English  and/or
foreign  laws  and  may  not  be  used  without  MtGox  express  written  consent.

Unless  MtGox  gives  it  express  prior  consent,  other  websites  may  only  link  to  the  Platform  by  using  the  following  address:
https://mtgox.com/,  to  the  exclusion  of  any  deep  link.

LIABILITY

Members  represent  and  warrant  that  they  are  the  legitimate  owners  and  are  allowed  to  use  all  monetary  sums  and  Bitcoins  deposited  on  their
Account  and  that  the  Transactions  being  carried  out  do  not  infringe  the  rights  of  any  third  party  or  applicable  laws.  Members  who  are  not
consumers  ("Business  Members")  will  indemnify  MtGox  for  any  and  all  damages  suffered  and  all  liability  actions  brought  against  MtGox  for
infringement  of  third  party  rights  or  violation  of  applicable  laws.

To  the  extent  permitted  by  law,  MtGox  will  not  be  held  liable  for  any  damages,  loss  of  profit,  loss  of  revenue,  loss  of  business,  loss  of
opportunity,  loss  of  data,  indirect  or  consequential  loss  unless  the  loss  suffered  is  caused  by  a  breach  of  these  Terms  by  MtGox.
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MtGox  cannot  be  held  liable  for  any  malfunction,  breakdown,  delay  or  interruption  to  the  internet  connection,  or  if  for  any  reason  our  site  is
unavailable  at  any  time  or  for  any  period.  Where  our  site  contains  links  to  other  sites  and  resources  provided  by  third  parties,  these  links  are
provided  for  your  information  only.  We  have  no  control  over  the  contents  of  those  sites  or  resources,  and  accept  no  responsibility  for  them  or
for  any  loss  or  damage  that  may  arise  from  your  use  of  them.

In  the  case  of  fraud,  MtGox  will  report  all  necessary  information,  including  names,  addresses  and  all  other  requested  information,  to  the
relevant  authorities  dealing  with  fraud  and  breaches  of  the  law.  Members  recognize  that  their  account  may  be  frozen  at  any  time  at  the
request  of  any  competent  authority  investigating  a  fraud  or  any  other  illegal  activity.

To  the  extent  that  a  Member  operates  and  uses  the  Site  and  the  Platform  other  than  in  the  course  of  its  business  ("Consumer"),  nothing  in
these  Terms  shall  affect  the  statutory  rights  of  such  Members.

Nothing  in  these  terms  excludes  or  limits  the  liability  of  either  party  for  fraud,  death  or  personal  injury  caused  by  its  negligence,  breach  of
terms  implied  by  operation  of  law,  or  any  other  liability  which  may  not  by  law  be  limited  or  excluded.

Subject  to  the  foregoing,  MtGox's  aggregate  liability  in  respect  of  claims  based  on  events  arising  out  of  or  in  connection  with  a  Member's  use
of  the  Site  and/or  Platform,  whether  in  contract  or  tort  (including  negligence)  or  otherwise,  shall  in  no  circumstances  exceed  the  greater  of
either  (a)  the  total  amount  held  on  Account  for  the  Member  making  a  claim  less  any  amount  of  Commission  that  may  be  due  and  payable  in
respect  of  such  Account;;  or  (b)  125%  of  the  amount  of  the  Transaction(s)  that  are  the  subject  of  the  claim  less  any  amount  of  Commission
that  may  be  due  and  payable  in  respect  of  such  Transaction(s).

TERMINATION

These  Terms  may  be  terminated  without  reason  by  either  party  providing  the  other  with  reasonable  prior  notice,  receipt  of  which  shall  be
promptly  acknowledged  in  writing  by  the  other  party.  Such  termination  will  be  effective  when  the  terminating  party  receives  the
acknowledgment  in  writing  of  its  notice  to  terminate  from  the  other  party.  Such  termination  shall  not  affect  the  obligations  or  rights  of  either
party  under  these  Terms  which  had  accrued  prior  to  the  notice  of  termination,  nor  the  Transactions  and  its  related  obligations  and  rights
concluded  before  such  termination  was  effective.

MtGox  may  by  notice  to  Members  discontinue  or  modify  the  Platform  and/or  revise  or  terminate  these  Terms  at  any  time.  Members  are
deemed  to  have  accepted  these  revisions  or  termination  to  the  extent  that  they  continue  using  the  Platform.  Upon  such  notice,  Members  may
request  a  refund  of  any  fund  balances  in  their  Accounts  by  writing  to  MtGox  at  support@mtgox.com  within  60  days  of  receiving  notice  from
MtGox  of  the  discontinuation  or  material  modification  of  the  Platform.  Alternatively,  MtGox  will  before  discontinuing  the  Platform  send  to  all
Members  such  fund  balances  by  transferring  such  amounts  into  the  bank  account  of  affected  Members  using  the  most  recent  bank  details
provided  by  such  Members.

Should  they  wish  to  terminate  their  agreement  with  MtGox,  Members  may  close  his/her  Account  at  any  time.

Members  also  agree  that  MtGox  may,  in  its  sole  discretion  by  giving  notice,  terminate  Members'  access  to  the  Site  and  their  Account,
including  without  limitation:  limit,  suspend  or  terminate  the  service  and  Members'  Accounts,  prohibit  access  to  the  Site  and  its  content,
services  and  tools,  delay  or  remove  hosted  content,  and  take  technical  and  legal  steps  to  keep  Members  off  the  Site  if  we  think  that  they  are
creating  problems  or  possible  legal  liabilities,  infringing  the  intellectual  property  rights  of  third  parties,  or  acting  inconsistently  with  the  letter
or  spirit  of  these  Terms.  Additionally,  we  may,  in  appropriate  circumstances  and  at  our  discretion,  suspend  or  terminate  Accounts  of  Members
for  any  reason,  including  without  limitation:  (1)  attempts  to  gain  unauthorized  access  to  the  Site  or  another  Member’s  account  or  providing
assistance  to  others'  attempting  to  do  so,  (2)  overcoming  software  security  features  limiting  use  of  or  protecting  any  content,  (3)  usage  of  the
Platform  to  perform  illegal  activities  such  as  money  laundering,  terrorism  financing  or  other  criminal  activities,  (4)  violations  of  these  Terms,
(5)  failure  to  pay  or  fraudulent  payment  for  Transactions,  (6)  unexpected  operational  difficulties,  or  (7)  requests  by  law  enforcement  or  other
government  agencies.

We  also  reserve  the  right  to  cancel  unconfirmed  Accounts  or  Accounts  that  have  been  inactive  for  a  period  of  6  months  or  more,  or  to  modify
or  discontinue  our  Site  or  Platform.  Members  agree  that  MtGox  will  not  be  liable  to  them  or  to  any  third  party  for  termination  of  their  Account
or  access  to  the  Site.

Members  acknowledge  and  agree  that  their  Account  may  be  suspended  until  they  provide  MtGox  with  documents  evidencing  their  identity
and/or  any  other  information  that  MtGox  deems  necessary  to  secure  the  Accounts,  the  Transactions  and/or  the  Platform.

The  suspension  of  an  Account  has  consequences  for  the  future  and  shall  not  affect  the  payment  of  the  commissions  due  for  past  Transactions.
Therefore,  despite  the  Account  having  been  suspended  for  whatever  reason  under  these  Terms,  the  Member  must  still  pay  the  Commission(s)
which  were  due  before  the  date  of  suspension.

Upon  termination,  Members  shall  communicate  a  valid  bank  account  to  allow  for  the  transfer  of  the  currencies  held  on  their  account.  Said
bank  account  shall  be  held  by  the  Member  and  shall  be  located  in  the  same  country  from  which  funds  initially  originated  (and  in  the  case
where  funds  originated  from  several  countries,  transfers  shall  be  possible  only  to  a  valid  bank  account  from  which  significant  funds
originated).  Bitcoins  may  be  transferred  to  a  valid  bank  account  only  after  conversion  into  a  currency.  MtGox  shall  exercise  reasonable  efforts
in  transferring  the  currencies  as  soon  as  possible  following  the  Member’s  request  provided,  however,  that  any  transaction  fees  levied  by  any
bank  intervening  between  the  paying  bank  and  the  receiving  bank  (including  the  paying  bank  and  the  receiving  bank)  shall  be  deducted  from
the  currencies  transferred.

In  the  case  where  Members  do  not  wish  to  make  use  of  the  functionalities  of  the  Platform  after  having  transferred  currencies  on  their
account,  they  may  request  that  said  currencies  be  returned  to  them.  In  this  case,  the  same  procedure  as  stipulated  under  the  preceding
paragraph  shall  apply.

DATA  PRIVACY

When  you  open  an  Account  to  use  the  Platform  or  otherwise  use  this  Site  we  may  ask  you  to  provide  us  with  personal  information  about
yourself.  Personal  information  that  you  provide  to  MtGox  through  this  Site  shall  be  subject  to  our  privacy  policy.  You  can  read  our  current
privacy  policy  by  clicking  here.

MISCELLANEOUS

In  case  of  a  force  majeure  event  as  defined  by  applicable  law,  the  liabilities  of  the  affected  party  to  these  Terms  will  be  suspended  pending
resolution  of  such  event.
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If  a  competent  judicial  authority  deems  any  provision  of  the  Terms  unenforceable,  that  provision  will  be  enforced  to  the  maximum  extent
permissible,  and  all  remaining  provisions  will  remain  in  full  force  and  effect.

CONTACT  US

If  you  have  any  questions  relating  to  these  Terms,  your  rights  and  obligations  arising  from  these  Terms  and/or  your  use  of  the  Site  and  the
Platform,  your  Account,  or  any  other  matter,  please  do  not  hesitate  to  contact  MtGox  at  support@mtgox.com.




QUICK  LINKS                                                        OUR  COMPANY                       APPS  AND  SOCIAL

TRADE                            MOBILE  WEBSITE                    ABOUT  US        CONTACT  US                    
TRADE  API                       SUPPORT                                                                 
FEE  SCHEDULE                    GET  VERIFIED
FAQ                              PRIVACY  POLICY
TERMS  OF  USE                   LOST  PASSWORD
UNLINK  YUBIKEY/OTP              REPORT  SECURITY  ISSUE


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           Last:$394.98999    High:$447.96000    Low:$310.00000    Vol:50079  BTC    W.Avg:$361.62579

                                https://www.mtgox.com/privacy_policy                                 Go               DEC    FEB    MAR
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                   5 May 12 -‐‑ 15 Feb 14
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        HOME                   TRADE        MERCHANT  TOOLS             SECURITY  CENTER         SETTINGS          FAQ        NEWS           ç      Ċ        
                                                                                                                                             CHAT  MOBILE
Privacy  Policy
General

MtGox  K.K.  and  its  affiliates  (hereinafter,  "MtGox",  "we",  "us"  or  "our")  are  committed  to  protecting  and  respecting  your  privacy.

This  Privacy  Policy  (together  with  our  Terms  and  Conditions  of  Use)  governs  our  collection,  processing  and  use  of  your  Personal  Information.
We  define  "Personal  Information"  as  information  which  identifies  you  personally,  e.g.  your  name,  address,  e-­mail  address,  trades  etc.

The  purpose  of  this  Privacy  Policy  is  to  inform  you  of:
  1.   the  kinds  of  Personal  Information  which  we  may  collect  about  you  and  how  it  may  be  used;;
  2.   our  use  of  information  regarding  IP  Addresses  and  our  use  of  cookies;;
  3.   any  disclosure  of  Personal  Information  to  third  parties;;
  4.   the  transfer  of  Personal  Information  outside  of  Japan;;
  5.   your  ability  to  correct,  update  and  delete  your  Personal  Information;;  and
  6.   the  security  measures  we  have  in  place  to  prevent  the  loss,  misuse,  or  alteration  of  Personal  Information  under  our  control.



Gathering  and  Use  of  Personal  Information

We  may  collect  your  Personal  Information  if  you  use  the  Site,  open  an  Account  to  use  the  Platform  or  perform  any  Transactions  on  the
Platform.  The  types  of  Personal  Information  which  we  collect  may  include:
  1.   your  name;;
  2.   your  photographic  identification;;
  3.   your  address;;
  4.   your  phone  number;;
  5.   your  e-­mail  address;;
  6.   your  banking  details  including  account  numbers;;
  7.   your  date  of  birth;;  and
  8.   your  trades.



We  may  use  your  Personal  Information  for  the  following  purposes:
 1.   to  allow  you  to  open  and  operate  an  Account  on  the  Platform;;
  2.   to  enable  you  to  complete  Transactions  on  the  Platform;;
  3.   if  you  contact  us,  to  reply  to  your  queries;;
  4.   to  analyse  use  of  our  Site;;
  5.   as  required  for  regulatory  purposes;;
  6.   to  provide  you  with  information  about  products  and  promotions  that  may  be  of  interest  to  you,  from  ourselves  and  third  parties,
       although  only  if  you  have  specifically  agreed  to  receive  such  information;;
  7.   for  market  research  e.g.  surveying  our  Members'  needs  and  opinions  on  issues,  such  as  our  performance  etc.


We  will  process  your  Personal  Information  only  for  the  purpose(s)  for  which  it  has  been  provided  to  us.

IP  Addresses

We  may  collect  information  about  your  computer,  including  where  available  your  IP  address,  operating  system  and  browser  type,  for  system
administration  and  to  report  aggregate  information  to  our  advertisers.  This  is  statistical  data  about  our  users'  browsing  actions  and  patterns
and  does  not  identify  any  individual.

Cookies

We  use  a  browser  feature  known  as  a  "cookie",  which  assigns  a  unique  identification  to  your  computer.  Cookies  are  typically  stored  on  your
computer's  hard  drive.  Information  collected  from  cookies  is  used  by  us  to  evaluate  the  effectiveness  of  our  Site,  analyse  trends,  and
administer  the  Platform.  The  information  collected  from  cookies  allows  us  to  determine  such  things  as  which  parts  of  our  Site  are  most
visited  and  difficulties  our  visitors  may  experience  in  accessing  our  Site.  With  this  knowledge,  we  can  improve  the  quality  of  your  experience
on  the  Platform  by  recognising  and  delivering  more  of  the  most  desired  features  and  information,  as  well  as  by  resolving  access  difficulties.
We  also  use  cookies  and/or  a  technology  known  as  web  bugs  or  clear  gifs,  which  are  typically  stored  in  emails  to  help  us  confirm  your  receipt
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of,  and  response  to,  our  emails  and  to  provide  you  with  a  more  personalised  experience  when  using  our  Site.

We  use  third  party  service  provider(s),  to  assist  us  in  better  understanding  the  use  of  our  Site.  Our  service  provider(s)  will  place  cookies  on
the  hard  drive  of  your  computer  and  will  receive  information  that  we  select  that  will  educate  us  on  such  things  as  how  visitors  navigate
around  our  site,  what  products  are  browsed,  and  general  Transaction  information.  Our  service  provider(s)  analyses  this  information  and
provides  us  with  aggregate  reports.  The  information  and  analysis  provided  by  our  service  provider(s)  will  be  used  to  assist  us  in  better
understanding  our  visitors'  interests  in  our  Site  and  how  to  better  serve  those  interests.  The  information  collected  by  our  service  provider(s)
may  be  linked  to  and  combined  with  information  that  we  collect  about  you  while  you  are  using  the  Platform.  Our  service  provider(s)  is/are
contractually  restricted  from  using  information  they  receive  from  our  Site  other  than  to  assist  us.

By  using  our  Site  you  are  agreeing  that  we  may  use  cookies  for  the  purposes  set  out  above.

Disclosure  of  Personal  Information

We  use  the  Personal  Information  for  the  purposes  indicated  at  the  time  you  provide  us  with  such  information,  and/or  otherwise  for  the
purposes  set  out  in  this  Privacy  Policy  and/or  as  otherwise  permitted  by  law.  We  may  make  available  the  Personal  Information  that  you
provide  to  us  to  our  affiliates,  agents,  representatives,  trusted  service  providers  and  contractors  for  these  limited  purposes.  We  may  also
share  Members’  Personal  Information  with  financial  institutions,  insurance  companies  or  other  companies  in  the  case  of  a  merger,  divestiture,
or  other  corporate  re-­organisation.  We  may  also  share  Members'  Personal  Information  with  law  enforcement  or  regulatory  agencies,  as  may
be  required  by  law.  Any  third  party  which  receives  or  has  access  to  Personal  Information  shall  be  required  by  us  to  protect  such  Personal
Information  and  to  use  it  only  to  carry  out  the  services  they  are  performing  for  you  or  for  MtGox,  unless  otherwise  required  or  permitted  by
law.  We  will  ensure  that  any  such  third  party  is  aware  of  our  obligations  under  this  Privacy  Policy  and  we  will  enter  into  contracts  with  such
third  parties  by  which  they  are  bound  by  terms  no  less  protective  of  any  Personal  Information  disclosed  to  them  than  the  obligations  we
undertake  to  you  under  this  Privacy  Policy  or  which  are  imposed  on  us  under  applicable  data  protection  laws.

Transfer  of  Personal  Information  Outside  of  Japan

MtGox  will  transfer  Members'  Personal  Information  to  MtGox  K.K.  as  well  as  the  third  party  service  providers  entrusted  by  MtGox  with  the
hosting  of  the  Platform  and  other  technical  operations  relating  to  the  operation  of  the  Platform.  These  parties  may  be  located  anywhere  in  the
world.  By  accepting  this  Privacy  Policy,  you  consent  to  such  transfer  of  your  Personal  Information  out  of  Japan.  Unfortunately,  the
transmission  of  information  via  the  internet  is  not  completely  secure  and  whilst  we  will  do  our  best  to  protect  your  Personal  Information,  we
cannot  guarantee  the  security  of  your  data  transmitted  to  our  site  when  it  is  outside  of  our  control.  Once  we  have  received  your  information,
we  will  use  strict  procedures  and  security  features  to  try  to  prevent  unauthorised  access.

Correction/Updating/Deletion  of  Personal  Information

You  have  the  right  to  access  your  Personal  Information  and  to  require  the  correction,  updating  and  blocking  of  inaccurate  and/or  incorrect
data  by  sending  an  email  to  us  at:  support@mtgox.com.

You  may  also  request  the  deletion  or  destruction  of  both  the  Account  and  Personal  Information  by  sending  an  email  to  us  at:
support@mtgox.com.  MtGox  will  action  your  request  only  where  this  is  not  inconsistent  with  its  legal  and  regulatory  obligations.

Upon  your  written  request,  we  will  inform  you  of  the  Personal  Information  relating  to  you  that  we  hold  and  the  use  and  general  disclosure  of
your  Personal  Information.  We  will  also  give  you  a  copy  of  the  Personal  Information  we  have  retained.  There  may  be  a  minimal  charge  for
accessing  your  Personal  Information.

Security

We  have  implemented  security  measures  to  ensure  the  confidentiality  of  your  Personal  Information  and  to  protect  your  Personal  Information
from  loss,  misuse,  alteration  or  destruction.  Only  authorised  personnel  of  MtGox  have  access  to  your  Personal  Information,  and  these
personnel  are  required  to  treat  the  information  as  confidential.  The  security  measures  in  place  will,  from  time  to  time,  be  reviewed  in  line
with  legal  and  technical  developments.

Retention  of  Personal  Information

We  will  hold  your  Personal  Information  only  for  as  long  as  it  is  necessary  for  us  to  do  so,  having  regard  to  the  purposes  described  in  this
Privacy  Policy  and  our  own  legal  and  regulatory  requirements.  In  accordance  with  our  record  keeping  obligations  we  will  retain  Accounts  and
Personal  Information  for,  at  least  a  period  of  five  years  after  they  are  closed  by  Members.

Links

There  may  be  links  from  our  Site  to  other  sites  and  resources  provided  by  third  parties.  This  Privacy  Policy  applies  only  to  our  Site.  Accessing
those  third  party  sites  or  sources  requires  you  to  leave  our  Site.  We  do  not  control  those  third  party  sites  or  any  of  the  content  contained
therein  and  you  agree  that  we  are  in  no  way  responsible  or  liable  for  any  of  those  third  party  sites,  including,  without  limitation,  their
content,  policies,  failures,  promotions,  products,  services  or  actions  and/or  any  damages,  losses,  failures  or  problems  caused  by,  related  to
or  arising  from  those  sites.  We  encourage  you  to  review  all  policies,  rules,  terms  and  regulations,  including  the  privacy  policies,  of  each  site
that  you  visit.

Marketing

You  have  the  right  to  ask  us  not  to  process  your  Personal  Information  for  marketing  purposes.  You  can  exercise  your  right  to  prevent  such
processing  by  checking  certain  boxes  on  the  forms  we  use  to  collect  your  Personal  Information.  You  can  exercise  the  right  at  any  time  by
contacting  us  at  support@mtgox.com.

Changes

Our  Site  policies,  content,  information,  promotions,  disclosures,  disclaimers  and  features  may  be  revised,  modified,  updated,  and/or
supplemented  at  any  time  and  without  prior  notice  at  the  sole  and  absolute  discretion  of  MtGox.  If  we  change  this  Privacy  Policy,  will  take
steps  to  notify  all  users  by  a  notice  on  our  Site  and  will  post  the  amended  Privacy  Policy  on  the  Site.

Contact  Us

If  you  have  any  questions,  comments,  or  concerns  regarding  our  Privacy  Policy  and/or  practices  as  it  or  they  relate  to  the  Platform,  please
contact  us  at  the  following  e-­mail  address,  address  and  telephone  number:
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E-­Mail  support@mtgox.com


Address

MtGox  K.K.

Round  Cross  Shibuya  5F
11-­6  Shibuya  2-­Chome,  Shibuya-­ku
Tokyo,  Japan
150-­0002

FAO:  Mark  Karpeles

Telephone  Number  +81  3  4520  6200

Last  updated:  [February  2012]




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FAQ                           PRIVACY  POLICY
TERMS  OF  USE                LOST  PASSWORD
UNLINK  YUBIKEY/OTP           REPORT  SECURITY  ISSUE


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